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                                     ORDERED.
  Dated: January 07, 2025




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION
                                  www.flmb.uscourts.gov

                                                     Case No. 2:24-BK-01143-FMD
                                                     Chapter 13
In re:

Ivan Melo Perez
      Debtor(s)
_______________________/

                 ORDER RESERVING RULING ON TRUSTEE’S MOTION
                TO DISMISS FOR FAILURE TO MAKE PLAN PAYMENTS
               TO TRUSTEE AND GRANTING PERIOD TO CURE DEFAULT

This matter came on for consideration, for the purpose of the entry of an appropriate Order in the

above Styled Chapter 13 Case, upon the Trustee’s Motion to Dismiss for Failure to Make Plan

Payments (Doc#16). The Court having reviewed the motion and based upon the facts set forth

above, it is

         ORDERED:

         1.      The Debtor(s) shall make the January 30, 2025 & February 28, 2025 payments of

$241.00 each, both on time. The Debtor(s) shall also cure all delinquencies and bring all payments

current under the Plan by paying to the Chapter 13 Trustee the additional sum of $724.32 on or

before March 30, 2025, which amount includes the March payment. Notwithstanding the foregoing,
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nothing contained in this order relieves the Debtor(s) of the obligation to be current with all plan

payments at the time of the confirmation hearing as a means of demonstrating that the plan is

feasible.

        2.     In the event Debtor(s) fail to timely make payments as mentioned above and to cure

arrearages as herein provided, the Trustee, may without further notice to the Debtor(s), submit for

this Court’s consideration an Order dismissing this case.

        3.     Assuming the Debtor(s) bring all payments to the Trustee current pursuant to

Paragraph 1 above, the Court will reserve ruling on the Trustee’s Motion to Dismiss. In the event

payments to the Trustee hereafter become delinquent, the Trustee may file a Notice of Default,

giving the Debtor(s) fourteen (14) days to cure the delinquency in plan payments. If the Debtor(s)

fail to become current with their plan payments within fourteen (14) days of the Notice of Default,

the Trustee may, without further notice to the Debtor(s), submit an Order dismissing the above-

styled Chapter 13 case.



Trustee, Jon M. Waage, is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and file a proof of service within three days of entry of the order.

JMW/MEC/lwl                                                          C13T 1/7/2025




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